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 1   BRIAN T. DUNN (SBN 176502)
     bdunn@cochranfirm.com
 2   THE COCHRAN FIRM CALIFORNIA
 3   4929 Wilshire Boulevard, Suite 1010
     Los Angeles, California 90010
 4   Telephone: (323) 435-8205
 5   Facsimiles: (323) 282-5280

 6   Attorneys for Plaintiff
 7                        UNITED STATES DISTRICT COURT
 8         CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
 9
10    JOSEPH L. GARCES,
                                             CASE: 2:21-CV-6730 FLA(PVCX)
11    Plaintiffs.
                                             JOINT WITNESS LIST
12
                v.
13
14    CITY OF SANTA PAULA, a
                                        FPTC: 3/24/23
      municipal entity, OFFICER CHRIS
15                                      Time: 3:00 pm
      RIVERA, an individual, and DOES 1
      through 10, inclusive,            Place: 6B
16
17                                           TRIAL: 4/11/23
                     Defendants.             Time: 8:30 pm
18
                                             Place: 6B
19
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28

                                   JOINT WITNESS LIST                        1
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 1                           JOINT WITNESS LIST
 2
 3   Witness                Summary of             Direct   Cross    Dates of
 4                          Testimony/Why          Exam     Exam     Testimony
 5                          Testimony is Unique    (Hours) (Hours)
 6   Christopher Rivera     Defendant              3        3
 7   Joseph Garces          Plaintiff              3        3
 8   Sgt. Walter Harper     Eyewitness             1.5      1.5
 9   Detective Hector       Eyewitness             2.0      1.5
10   Ramirez
11   Commander Macias       Eyewitness             1.5      1.5
12   Thomas Golden, MD      Treating physician     1        1
13   Dr Ryan Sharma         Treating therapist     1        2.0
14   Rebecca Bradley        Paramedic              .5       .5
15   Christopher Morgan     Paramedic              .5       .5
16   Roger Clark            Expert on police       3        3
17                          practices
18   Phillip Sanchez        Defendant’s Expert     3        3
19                          on police practices
20   Anthony Romero, MD     Defendant’s Expert     1
21                          on Medical
22   Ofc. Jason Abboud      Eyewitness             2
23
24
25
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27
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                              JOINT WITNESS LIST                                 2
